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                                          1   CHRISTOPHER R. ORAM, ESQ
                                              Nevada Bar No. 004349
                                          2   520 South Fourth Street, Second Floor
                                              Las Vegas, Nevada 89101
                                          3   (702) 384-5563
                                              E-Mail: contact@christopheroramlaw.com
                                          4
                                              Attorney for Defendant
                                          5   EVERLY JAMES
                                                                           UNITED STATES DISTRICT COURT
                                          6                                     DISTRICT OF NEVADA
                                          7                                                *****
                                          8    UNITED STATES OF AMERICA,                       CASE NO. 2:17-cr-00180-JAD-PAL

                                          9                   Plaintiff,

                                         10    vs.                                             STIPULATION TO CONTINUE THE
                                                                                               REPLY TO THE GOVERNMENT’S
                                         11    EVERLY JAMES                                    RESPONSE (ECF No. 254) TO
                                                                                               DEFENDANT’S MOTION TO
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12                                                    SUPPRESS (ECF No. 203)(First Request)
 TEL. 702.384-5563 | FAX. 702.974-0623




                                                               Defendants.
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13
                                         14          IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

                                         15   America, by and through Cristina D. Silva, Assistant United States Attorney, and Everly James,

                                         16   by and through his attorney, Christopher R. Oram, that the Reply to the Government’s Response
                                              to Defendant’s Motion to Suppress, currently due on Monday, January 15, 2018, be continued
                                         17
                                              for two (2) weeks, until January 29, 2018, for the following reasons:
                                         18
                                         19          1. Counsel for the Defendant requires additional time to draft a response to the Reply

                                         20   and to discuss the Government’s Response with the Defendant.

                                         21          2. Plea negotiations are continuing in the instant case.
                                         22          3. The defendant is in custody and does not object to this stipulation.
                                         23
                                                     4. Denial of this request could result in a miscarriage of justice because it prevents
                                         24
                                              counsel for the Defendant from having meaningful discussions with the Defendant concerning
                                         25
                                              the Reply.
                                         26
                                         27
                                         28                                                    1
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                                          1
                                                    5. This is the first request to continue the Reply to the Government’s Response to
                                          2   Defendant’s Motion to Suppress.
                                          3
                                                     /s/ Cristina D. Silva 01/11/2018             /s/ Christopher R. Oram     01/11/2018
                                          4
                                                     CRISTINA SILVA DATE                          CHRISTOPHER R. ORAM           DATE
                                          5
                                                     Assistant United States Attorney             Counsel for Defendant E. James
                                          6
                                          7
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                                         11
520 SOUTH 4TH STREET | SECOND FLOOR




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                                          1
                                                              Based upon the pending Stipulation of the parties, and good cause appearing
                                          2
                                              therefore, the Court finds that:
                                          3
                                                     1. Counsel for the Defendant requires additional time to draft a response to the Reply
                                          4
                                              and to discuss the Government’s Response with the Defendant.
                                          5
                                                     2. Plea negotiations are continuing in the instant case.
                                          6
                                          7          3. The defendant is in custody and does not object to this stipulation.

                                          8          4. Denial of this request could result in a miscarriage of justice because it prevents
                                          9   counsel for the Defendant from having meaningful discussions with the Defendant concerning

                                         10   the Reply.

                                         11          5. This is the first request to continue the Reply to the Government’s Response to
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12
 TEL. 702.384-5563 | FAX. 702.974-0623




                                              Defendant’s Motion to Suppress.
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13
                                                           For all of the above-stated reasons, the end of justice would best be served by a two
                                         14   week continuance of the deadline for the Defendant to file his Reply to the Government’s
                                         15   Response to Defendant’s Motion to Suppress.
                                         16
                                         17
                                                                                                ORDER
                                         18
                                                              IT IS ORDERED that the Defendant’s deadline to respond to the Government’s
                                         19
                                              Response to Defendant’s Motion to Suppress, currently scheduled for January 15, 2018, be
                                         20
                                              vacated and continued to January 29, 2018.
                                         21
                                         22          DATED this 17th day of January, 2018.

                                         23
                                         24                                                          __________________________________

                                         25                                                          THE HONORABLE PEGGY A. LEEN
                                                                                                     United States Magistrate Judge
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